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                     EXHIBIT B
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                                                                                      July 6, 2023
                   Updated Signal Log with DM Feature Information

This log updates Amazon’s log of May 25, 2023 with a collection of potentially work-related
Signal from BlackBerries formerly used by Andy Jassy. Because the Signal communications on
these BlackBerries predate prior collections from Mr. Jassy, this update includes Signal
messages and disappearing message (“DM”) settings that post-date Mr. Jassy’s receipt of a hold
notice for the CID Investigation (hereinafter “this Investigation”), as well as earlier Signal
messages and DM settings between Mr. Jassy and other custodians in this Investigation.

For ease of identification, information added to this updated log due to the collection described
above appears in italics. Due to overlapping screenshots, the screenshot count for logged
threads is often greater than the number of collected messages. To the extent collections included
messages already covered in prior iterations of this log, no changes were made to the log.

Because the refresh period for this Investigation has long expired, this log includes potentially
work-related Signal communications through May 2022. This timeframe was chosen for
consistency with prior iterations of the log, all of which contained messages through May 2022
(the month by which Amazon had completed its original Signal collections). For prior Signal
collection dates for particular custodians, please see Amazon’s August 31, 2022 submission to
the FTC and other correspondence. 1

Signal is a third-party messaging application that uses end-to-end encryption for secure
communications. As has been previously disclosed, the use of Signal among certain Amazon
executives and employees began in 2019 following the hack of Jeff Bezos’s cell phone, reportedly
by hostile foreign actors. As a result of this hack and ongoing concerns about unauthorized efforts
to gain access to Amazon’s executives’ communications, certain executives and employees began
using Signal in a limited fashion for short, typically time-sensitive communications, in addition
to non-substantive or personal communications. Even as some Amazon executives and
employees began to use Signal, other forms of electronic communication—like email and Chime—
remained the primary method of work communications.

Per your request, the log below includes Signal communications involving CID custodians that
Amazon has collected through its due diligence, and provides additional information on the
settings of the DM feature in those communications. 2 None of the collected messages was
responsive to the CID under the parameters of the September 29, 2020 Final Production schedule.
Most collected messages were brief or non-substantive in nature. Other collected messages were
substantive but related to aspects of Amazon different than those at issue in the CID or were
outside the relevant production period.


1 Amazon’s extensive engagement with the FTC on this issue includes prior correspondence dated

March 22, May 20, July 15, and August 3, August 29, August 31, September 26, October 4, October
6, and November 11, 2022, and January 17, January 20, February 8, and May 1, 2023.
2 Amazon is providing the information in the log without any intent to waive any privileges,

protections, or immunities, including, without limitation, the attorney-client privilege, work
product protection, and any other applicable privileges or protection from disclosure. However,
certain materials included in the log are privileged, as indicated, for example, by the involvement
of an attorney or other indicia of privilege. The descriptions in this appendix include only the
subject matter of the thread and are not intended to reveal any privileged communication.
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Given the way Signal functions, Amazon cannot determine with certainty whether any substantive
messages responsive to this Investigation may have been lost due to the DM function. Based on
Amazon’s diligence as well as the custodians’ testimony in FTC investigational hearings, however,
Amazon does not believe that the use of Signal or the DM feature materially impacted the
company’s ability to provide a comprehensive production in response to the CID. Even if a small
number of potentially responsive messages were no longer available due to the DM feature, there
is no reasonable basis to conclude that the Commission was prejudiced. Signal communications
were miniscule compared to the millions of pages of documents and many terabytes of data that
Amazon collected in its response to this Investigation. Moreover, the topics that the Commission
is investigating here—including Amazon’s approach to retail, Prime, pricing, and fulfilment—span
many years and involve decisions that are carefully studied and well-documented in Amazon
documents. While the seven relevant executives occasionally sent or received substantive, work-
related messages via Signal, material communications concerning Amazon’s significant business
decisions occurred through others means—including email, Chime, and related attachments—
that were systematically collected and produced, evidenced by the more than 125,000 documents
produced from the files of those seven custodians alone. This is particularly true given Amazon’s
well-documented and longstanding corporate culture of drafting detailed documents for meetings
and important decisions—documents that FTC staff has used to probe Amazon’s business
practices in great depth in the dozens of investigational hearings conducted to date in this
Investigation.

In addition, as we have informed you, Amazon launched an enterprise version of Wickr—a secure
messaging application owned by Amazon—for internal use. Amazon’s enterprise version of Wickr
can be used by Amazon executives and employees to send each other secure, end-to-end encrypted
messages, while allowing Amazon to preserve messages sent and received by executives and
employees who are on litigation hold.

Subject to that context, for each Signal thread below, the log identifies the following available
information: (i) the participants in the thread; (ii) the date range of the thread; (iii) the number
of logged screenshots; (iv) the title of the thread (available for threads with more than two
participants); (v) the subject matter of the thread, if the thread included any messages at the time
of collection, and (vi) changes (if any) to settings of Signal’s DM feature before collection. 3 Where
the DM feature was enabled at the time of collection, custodians were again provided legal
guidance regarding Amazon’s preservation obligations.

Amazon produced some of the collected threads as responsive in a separate FTC investigation of
Amazon’s acquisition of MGM and reproduced them for overlap custodians in this Investigation.
The produced threads are bolded below, and the associated Bates numbers are provided below
such entries.




3 Amazon’s collection of Signal messages relied on capturing screenshots of a custodian’s phone.

An individual screenshot may include one or more unique messages, and in some cases the
content in separate screenshots overlaps. For this reason, when the same message thread was
collected from multiple custodians’ phones, the number of screenshots may differ between
collections. Additionally, some collected threads and screenshots included in this appendix do
not include any message content, but do include other content (e.g., identity of the individuals on
the thread; date when the disappearing feature was enabled or disabled).
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The log is organized in chronological order.

•   Jeff Bezos and Stephen Schmidt on April 2, 2019, comprising one screenshot.
    o DM settings before collection were as follows: 30 minutes on April 2, 2019 (Bezos).

•   Jeff Bezos and David Zapolsky on April 2, 2019, comprising one screenshot, providing contact
    information.
    o DM settings before collection was as follows: 30 minutes on April 2, 2019 (Bezos).

•   Jeff Bezos and Andy Jassy between April 2, 2019 and April 22, 2019, comprising two
    screenshots.
    o DM settings before collection was as follows: 30 minutes on April 2, 2019 (Bezos); 6 hours
        on April 2, 2019 (Jassy); 30 minutes on April 2, 2019 (Jassy); six hours on April 3, 2019
        (Jassy); 30 minutes on April 3, 2019 (Jassy).

•   Jeff Bezos and                    between May 3, 2019 and May 7, 2019, comprising three
    screenshots, relating to logistics.
    o DM settings before collection were as follows: 1 week on May 7, 2019 (Bezos).

•   Jeff Bezos,                and                between May 13, 2019 and June 15, 2019,
    comprising two screenshots.
    o DM settings before collection were as follows: 1 week on May 13, 2019 (Bezos); disabled
        on June 15, 2019 (     ).

•   Jeff Bezos and                between May 13, 2019 and May 15, 2019, comprising two
    screenshots, relating to scheduling.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos,            , and           on May 15, 2019, comprising two screenshots.
    o DM settings before collection were as follows: 1 week on May 15, 2019 (Bezos).

•   Andy Jassy and Jeff Wilke starting on May 25, 2019 and comprising 34 screenshots through
    May 2022, relating to personnel and personal issues. 4
    o DM settings before collection were as follows: 30 minutes on May 25, 2019 (Wilke);
       disabled on Aug. 15, 2019 (Wilke); 1 day on Sept. 1, 2019 (Jassy); 1 day on unknown date
       (Jassy); 1 day on unknown date (Wilke); disabled on Jan. 3, 2021 (Wilke); 1 day on Jan. 4,
       2021 (Jassy); 1 week on Feb. 22, 2021 (Jassy); disabled on Dec. 6, 2021 (Jassy).

•   Jeff Bezos and Beth Galetti between June 2, 2019 and July 11, 2019, comprising one
    screenshot, relating to HR.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Jay Carney, and Andrew Herdener between June 4, 2019 and July 11, 2019,
    comprising 3 screenshots, titled “Jay, Drew, Jeff” relating to personal and business-related
    social media posts.

4 This thread was previously logged.    22 additional screenshots were collected from Mr. Jassy
in the collection reflected in this update.
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    o    DM settings before collection were as follows: 1 week, but specifics are unknown.

•   Jeff Bezos and Jon Rubinstein between June 5, 2019 and June 7, 2019, comprising one
    screenshot, relating to real estate.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Jay Carney between June 5, 2019 and June 13, 2019, comprising two
    screenshots, relating to personal business, and a tax issue.
    o DM settings before collection were as follows: 1 week, but specifics are unknown.

•   Jeff Bezos, Jay Carney, Andrew Herdener, and Neal Karlinsky on June 10, 2019, comprising
    one screenshot.
    o DM settings before collection were as follows: 1 week on June 10, 2019.

•   Jeff Bezos and                     between June 12, 2019 and July 16 2019, comprising two
    screenshots, relating to scheduling meetings for personal and business issues.
    o DM settings before collection were as follows: 1 week, but the specifics are unknown.

•   Jeff Bezos and         on June 12, 2019, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on June 12, 2019 (Bezos).

•   Jeff Bezos and Jay Carney on June 15, 2019, comprising one screenshot, relating to public
    relations personnel.
    o DM settings before collection were as follows: 1 day on June 17, 2019 (Bezos).

•   Jeff Bezos and                 between June 15, 2019 and July 11, 2019, comprising four
    screenshots, relating to scheduling and logistics.
    o DM settings before collection were as follows: one week on July 9, 2019 (Bezos).

•   Jeff Bezos and Andy Jassy between June 19, 2019 and July 17, 2019, comprising two
    screenshots.
    o DM settings before collection was as follows: 1 week on June 19, 2019 (Bezos); 1 day on
        June 27, 2019 (Jassy); 1 week on June 29, 2019 (Jassy); 1 day on July 17, 2019 (Jassy).

•   Jeff Bezos and Andy Jassy between June 27, 2019 and July 11, 2019, comprising four
    screenshots, relating to employee compensation and related issues.
    o DM settings before collection was as follows: disabled on July 11, 2019 (Jassy).

•   Jeff Bezos and Neal Karlinsky between July 9, 2019 and August 22, 2019, comprising 18
    screenshots, relating to social media posts regarding the Seattle Spheres at Amazon’s
    headquarters.
    o DM settings before collection were as follows: 1 week on August 21, 2019 (Bezos).

•   Jeff Bezos and David Zapolsky on July 14, 2019, comprising one screenshot.
    o DM settings before collection was as follows: 1 week on July 14, 2019 (Bezos).

•   Jeff Bezos,                , and Andrew Herdener between July 17, 2019 and August 2, 2019,
    comprising 17 screenshots, relating to a news story concerning            .
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    o    DM settings before collection were as follows: 1 week, but specifics are unknown.

•   Jeff Bezos and Judy McGrath between July 31, 2019 and August 2, 2019, comprising one
    screenshot, relating to HR issues.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Beth Galetti on July 31, 2019, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on July 31, 2019 (Bezos).

•   Jeff Bezos, Beth Galetti, and Jeff Wilke between July 31, 2019 and August 8, 2019, comprising
    nine screenshots, titled “Jeff, JAW, and Beth” relating to HR.
    o DM settings before collection were as follows: 1 week on August 8, 2019 (Bezos).

•   Jeff Bezos and Jeff Blackburn on August 2, 2019, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on August 2, 2019 (Bezos).

•   Jeff Bezos, Jay Carney, and Andrew Herdener between August 5, 2019 and August 16, 2019,
    comprising five screenshots, titled “Jeff & Drew” (and later “Jeff, drew, jay”) relating to
    compensation,                         , and a news story relating to the hacking of Bezos’s
    phone.
    o DM settings before collection were as follows: one week on August 16, 2019 (Bezos).

•   Jeff Bezos, Andy Jassy, and Andrew Herdener on August 6, 2019, comprising three
    screenshots, titled “Jeff B, Andy J, Drew H” and relating to logistics for an AWS CEO summit.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Jeff Wilke on August 8, 2019, comprising one screenshot.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Russ Grandinetti on August 12, 2019, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on August 12, 2019 (Bezos).

•   Jeff Bezos, Jay Carney, Mike George, and Andrew Herdener on August 16, 2019, comprising
    one screenshot, and titled “Jeff, Jay, Mike, Drew.”
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Dave Limp on August 19, 2019, comprising one screenshot, relating to a news
    article about Disney+.
    o DM settings before collection were as follows: 1 week on August 19, 2019 (Bezos).

•   Andy Jassy and Paul Kotas between August 26, 2019 and April 25, 2022, comprising eight
    screenshots, relating to personnel issues and remote work.
    o DM settings before collection were as follows: 12 hours on August 26, 2019 (Jassy);
        disabled on March 5, 2020 (Jassy).

•   Jeff Bezos, Jay Carney, Mike George, Andrew Herdener, Neal Karlinsky, and
    between August 21, 2019 and August 28, 2019, comprising 32 screenshots, titled “Jeff, Neal,
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    Drew” (later “Jeff, Neal, Drew, Jay, Mike G” and then “Jeff, Neal, Drew, Jay, Mike G, and
          relating to social media posts.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Stephen Schmidt on August 22, 2019, comprising one screenshot confirming
    contact information.
    o DM settings before collection were as follows: 1 week on August 22, 2019 (Bezos).

•   Jeff Bezos and               between August 31, 2019 and September 14, 2019, comprising
    three screenshots, relating a news article about the theater business and a

    o    DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Andrew Herdener, and Neal Karlinsky between September 10, 2019 and
    September 23, 2019, comprising 25 screenshots, and titled “Jeff, Drew, Neal” and relating to
    social media posts.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Jennifer Salke between September 12, 2019 and September 25, 2019,
    comprising one screenshot about scheduling.
    o DM settings before collection were as follows: 1 week on September 13, 2019 (Bezos).

•   Peter Krawiec and Dan Grossman between Sept. 17, 2019 and Feb. 1, 2021, comprising four
    screenshots.
    o DM settings before collection were as follows: 30 minutes on Sept. 17, 2019 (Krawiec); 5
        minutes on Oct. 2, 2019 (Krawiec); 30 minutes on Oct. 3, 2019 (Krawiec); 12 hours on Dec.
        5, 2019 (Grossman); 5 minutes on Aug. 30, 2020 (Krawiec); 1 hour on Sept. 11, 2020
        (Krawiec); 6 hours on Sept. 11, 2020 (Krawiec); 10 seconds on Oct. 2, 2020 (Grossman); 1
        hour on Oct. 2, 2020 (Grossman); 40 minutes on Oct. 2, 2020 (Krawiec); disabled on Feb.
        1, 2021 (Krawiec).

•   Peter Krawiec and Carlo Bertucci between Sept. 17, 2019 and May 20, 2021, comprising four
    screenshots and relating to opening a thread on Signal and sharing one public news article.
    o DM settings before collection were as follows: 1 day on Sept. 17, 2019 (Krawiec); 1 hour on
        Sept. 17, 2019 (Krawiec); 30 minutes on Sept. 17, 2019 (Krawiec); 1 week on July 7, 2020
        (Krawiec); disabled on Aug. 6, 2020 (Bertucci); 1 day on Aug. 12, 2020 (Krawiec).

•   Peter Krawiec and Alex Ceballos Encarnacion between Sept. 17, 2019 and Jan. 13, 2021,
    comprising two screenshots.
    o DM settings before collection were as follows: 5 minutes on Sept. 17, 2019 (Encarnacion);
       30 minutes on Sept. 17, 2019 (Krawiec); 6 hours on Jan. 12, 2021 (Encarnacion).

•   Jeff Bezos, Jay Carney, Andrew Herdener, and David Zapolsky on September 20, 2019,
    comprising one screenshot.
    o DM settings before collection were as follows: 1 week on September 20, 2019 (Bezos).

•   Peter Krawiec and Will Shu between Sept. 20, 2019 and June 16, 2021, comprising 36
    screenshots and relating to the relationship between Amazon and Deliveroo.
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    o    DM settings before collection were as follows: 6 hours on Sept. 20, 2019 (Krawiec);
         disabled on Dec. 18, 2020 (Shu).

•   Jeff Wilke and Mike George between Sept. 26, 2019 and Nov. 2, 2020, comprising 22
    screenshots and relating to personnel and personal issues.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos,            , Jay Carney, and Andrew Herdener between Sept. 27, 2019 and Feb.
    21, 2021, comprising three screenshots and titled “Jay, Drew,      Jeff.”
    o DM settings before collection were as follows: 1 week on Sept. 27, 2019 (unknown).

•   Jeff Bezos and Beth Galetti between Sept. 27, 2019 and July 17, 2021, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 week on Sept. 27, 2019 (Galetti).

•   Jeff Bezos and               between Sept. 27, 2019 and April 7, 2020, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 week on Sept. 27, 2019 (

•   Jeff Bezos and Andrew Herdener between Sept. 27, 2019 and Jan. 29, 2021, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 week on Sept. 27, 2019 (Herdener).

•   Peter Krawiec and Cem Sibay between Sept. 27, 2019 and Feb. 1, 2021, comprising three
    screenshots.
    o DM settings before collection were as follows: 1 minute on Sept. 27, 2019 (Sibay); 5
        minutes on Oct. 30, 2019 (Sibay); disabled on Feb. 1, 2021 (Krawiec).

•   Jeff Bezos and Jeff Blackburn between Sept. 28, 2019 and March 4, 2022, comprising seven
    screenshots and relating to a publicly reported Netflix HR issue and March 2022 message
    about meeting logistics and Lord of the Rings marketing.
    o DM settings before collection were as follows: 1 week on Sept. 28, 2019 (Bezos); disabled
        on Aug. 19, 2021 (Blackburn).

•   Jeff Bezos and                 between Sept. 30, 2019 and April 3, 2020, comprising one
    screenshot and relating to personal logistics.
    o DM settings before collection were as follows: 1 week on Sept. 30, 2019 (Bezos).

•   Jeff Bezos,              , and           between Oct. 1, 2019 and April 7, 2020, comprising
    three screenshots and titled “       /J.”
    o DM settings before collection were as follows: 1 week on Oct. 1, 2019 (Bezos).

•   Jeff Bezos and Stephen Schmidt between Oct. 1, 2019 and Aug. 15, 2020, comprising three
    screenshots and relating to security issues.
    o DM settings before collection were as follows: 1 week on Oct. 1, 2019 (Schmidt); disabled
        on July 15, 2020 (Schmidt); 1 week on Aug. 15, 2020 (Schmidt).

•   Jeff Bezos, Jay Carney, Andrew Herdener, and Dan Perlet between Oct. 1, 2019 and March 2,
    2021, comprising three screenshots and titled “Jeff, Jay, Drew, Dan.”
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    o    DM settings before collection were as follows: 1 week on Oct. 1, 2019 (Bezos).

•   Jeff Bezos,                                                             between Oct. 1, 2019
    and May 14, 2022, comprising 21 screenshots, titled “Kamala” [the name of an EA listserv], and
    relating to personal and business scheduling and coordination with Executive Assistant staff.
    o DM settings before collection were as follows: 1 week on Oct. 2, 2019 (Bezos).

•   Jeff Bezos and Jay Carney between Oct. 3, 2019 and March 16, 2020, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 week on Oct. 3, 2019 (Bezos).

•   Jeff Bezos and Andy Jassy between Oct. 7, 2019 and March 9, 2022, comprising 32
    screenshots and relating to scheduling, security, public relations, COVID-19 response, Twitch,
    employee compensation,                   , closing of stores, and personnel issues.5
    o DM settings before collection were as follows: 1 week on Oct. 7, 2019 (Jassy); disabled on
        Feb. 25, 2020 (Jassy); 1 week on Mar. 19, 2020 (Bezos); 30 minutes on Apr. 7, 2020
        (Jassy); 5 minutes on Apr. 7, 2020 (Jassy); 1 day on Apr. 11, 2020 (Jassy); 1 week on Aug.
        27, 2020 (Bezos); 1 day on Jan. 9. 2021 (Jassy); 1 week on Apr. 13, 2021 (Bezos); 1 week
        on May 30, 2021 (Jassy); disabled on Jan. 4, 2022 (Bezos); 1 week on Jan. 20, 2022
        (Jassy); disabled on Jan. 27, 2022 (Jassy); 1 week on Feb. 17, 2022 (Jassy); disabled on
        Feb. 25, 2022 (Bezos).

•   Jeff Bezos and Jennifer Salke between Oct. 8, 2019 and Dec. 24, 2021, comprising
    128 screenshots and relating to scheduling and administrative issues, personnel
    issues,                                                          , and production and
    content updates.
    o Amazon-FTC-CID_ 09327810 to Amazon-FTC-CID_09327812; Amazon-FTC-
       CID_09327814 to Amazon-FTC-CID_09327815; Amazon-FTC-CID_09327817; Amazon-
       FTC-CID_09327819 to Amazon-FTC-CID_09327821; Amazon-FTC-CID_09327823 to
       Amazon-FTC-CID_09327829
    o DM settings before collection were as follows: 1 week on Oct. 8, 2019 (Salke); disabled on
       June 5, 2020 (Salke).

•   Jeff Bezos, Jay Carney, Andrew Herdener, Neal Karlinsky, and Dan Perlet between Oct. 23,
    2019 and March 3, 2021, comprising two screenshots and titled “Jeff, Drew, Jay, Dan, Neal.”
    o DM settings before collection were as follows: 1 week on Oct. 23, 2019 (Bezos).

•   Jeff Bezos, Jay Carney, Dave Clark, and Andrew Herdener between Oct. 29, 2019 and May 21,
    2022, comprising two screenshots and titled “Jeff, Dave C, Jay, Drew.”
    o DM settings before collection were as follows: Unknown participant enabled DM on an
        unknown date; disabled DM on May 21, 2022 (Bezos).

•   Jeff Bezos, Andy Jassy, and David Zapolsky between Oct. 29, 2019 and May 21, 2022,
    comprising five screenshots and titled “Jedi Privileged and Confidential.”



5 This thread was previously logged.     Two additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
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    o    DM settings before collection were as follows: 1 week on Oct 29, 2019 (Bezos); disabled on
         May 21, 2022 (Bezos).

•   Jeff Bezos and David Zapolsky between Oct. 29, 2019 and Oct. 24, 2020, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 week on Oct. 29, 2019 (Bezos).

•   Jeff Bezos, Jay Carney, Andrew Herdener, Neal Karlinsky, and                 between Nov. 4,
    2019 and April 22, 2021, comprising 26 screenshots, titled “Jeff, Jay, Drew,      Neal,” and
    relating to public relations issues, such as Thanksgiving wishes, Amazon support for U.S.
    troops, and the COVID-19 pandemic.
    o DM settings before collection were as follows: 1 week on Apr. 8, 2020 (Bezos).

•   Jeff Bezos, Jay Carney, Neal Karlinsky, Andrew Herdener, Lauren Sanborn, and Dan Perlet
    between Nov. 8, 2019 and Jan. 29, 2021, comprising 39 screenshots, titled “Jeff, Drew, Jay,
    Dan, Neal, Lsanborn,” and relating to social media posts.
    o DM settings before collection were as follows: 1 week on Jan. 11, 2020 (Bezos).

•   Jeff Bezos, Jay Carney, and David Zapolsky between Nov. 10, 2019 and Jan. 30, 2021,
    comprising two screenshots and titled “Privileged Confidential DavidZ Jeff.”
    o DM settings before collection were as follows: 1 week on Nov. 10, 2019 (Bezos).

•   Jeff Bezos and Jeff Wilke between Nov. 22, 2019 and Aug. 6, 2022 comprising seven
    screenshots and relating to organization changes and the French business.
    o DM settings before collection were as follows: 1 day on Nov. 22, 2019 (Bezos); 1 week on
        Dec. 6, 2019 (Bezos); disabled on Dec. 11, 2020 (Bezos); 1 week on Dec. 17, 2020 (Bezos);
        disabled on May 21, 2021 (Bezos).

•   Peter Krawiec and Donald Katz between Dec. 4, 2019 and Oct. 1, 2020, comprising two
    screenshots and relating to a potential Audible acquisition.
    o DM settings before collection were as follows: 1 day on Oct. 1, 2020 (Krawiec).

•   Peter Krawiec and Mike George between Dec. 5, 2019 and March 5, 2020, comprising two
    screenshots and relating to Krawiec’s promotion and interactions with

    o    DM settings before collection were as follows: DM enabled, but specifics are unknown.

•   Jeff Bezos, Jay Carney, Drew Herdener, and Dan Perlet between Dec. 10, 2019 and May 12,
    2022, comprising 25 screenshots, titled “Jeff, Jay, Drew, Dan,” and relating to public relations
    issues and personal logistics.
    o DM settings before collection were as follows: 1 week on May 9, 2021 (Bezos).

•   Andy Jassy and David Limp between Dec. 17, 2019 and Feb. 25, 2022, comprising five
    screenshots and relating to office attendance and personal logistics while out of the office.
    o DM settings before collection were as follows: 12 hours on Dec. 17, 2019 (Jassy); disabled
        on Mar. 5, 2020 (Jassy); 1 day on June 15, 2020 (Jassy); disabled on June 26, 2021 (Jassy);
        1 week on June 26, 2021 (Jassy); disabled on Nov. 16, 2021 (Limp); 1 week on Dec. 20,
        2021 (Jassy); disabled on Jan. 4, 2022 (Jassy); 1 week on Feb. 3, 2022 (Jassy); disabled
        on Feb. 25, 2022 (Jassy).
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•   Jeff Bezos and Adam Selipsky between Dec. 21, 2019 and Jan. 7, 2022, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 week on Aug. 30, 2021 (Bezos); disabled
        on Jan. 7, 2022 (Bezos).

•   Jeff Bezos and Brian Olsavsky between Jan. 3, 2020 and April 29, 2020, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 day on Jan. 3, 2020 (Bezos); 1 week on
        Apr. 29, 2020 (Bezos).

•   Jeff Bezos, Beth Galetti, and David Zapolsky between Jan. 7, 2020 and July 17, 2021,
    comprising three screenshots and titled “Beth and DavidZ.”
    o DM settings before collection were as follows: Bezos set DM to 1 week on Jan. 7, 2020
        (Bezos).

•   Jeff Bezos, Amit Agarwal, Jay Carney, and Andrew Herdener between Jan. 13, 2020 and Jan.
    29, 2021, comprising 15 screenshots, titled “Amit, Jay, Jeff, Drew,” and relating to a public
    relations issue in India.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Amit Agarwal on Jan. 15, 2020, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on Jan. 15, 2020 (Bezos).

•   Peter Krawiec and “Jeff” (incorrect number) on Jan. 17, 2020, comprising two screenshots
    and relating to interactions with Mars.
    o DM settings before collection were as follows: 12 hours on Jan. 17, 2020 (Krawiec).

•   Jeff Bezos and Dave Clark between Jan. 27, 2020 and June 21, 2022, comprising 16
    screenshots and relating to call scheduling, the grocery business, COVID-19 hazard pay, and

    o   DM settings before collection were as follows: 1 week on Nov. 25, 2020 (Bezos); disabled
        DM on Feb. 25, 2022 (Bezos).

•   Jeff Bezos, Jay Carney, and David Zapolsky between Jan. 27, 2020 and Jan. 11, 2021,
    comprising two screenshots and titled “Privileged Zapolsky Carney.”
    o DM settings before collection were as follows: 1 week on Jan. 27, 2020 (Bezos).

•   Andy Jassy and Brian Olsavsky between Jan. 30, 2020 and Feb 26, 2022, comprising 22
    screenshots and relating to format for financial reporting and a                .6
    o DM settings before collection were as follows: 1 day on Jan. 30, 2020 (Jassy); 1 day on
        Mar. 2, 2020 (Olsavsky); 1 day on unknown date (Jassy); 1 week on July 16, 2021
        (Jassy); 1 week on Jan. 11, 2022 (Jassy); disabled on Feb. 10, 2022 (Jassy); 1 week on
        Feb. 18, 2022 (Jassy); disabled on Feb. 25, 2022 (Jassy).




6 This thread was previously logged.     Three additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
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•   Jeff Bezos and Dave Limp between Feb. 12, 2020 and May 23, 2022, comprising 19
    screenshots and relating to scheduling logistics for a conference and space flight.
    o DM settings before collection were as follows: 1 week on Feb. 12, 2020 (Bezos); disabled
        on Dec. 1, 2020 (Limp); 1 week on Dec. 4, 2020 (Bezos); disabled on Jan. 4, 2022 (Bezos).

•   Jeff Bezos and               between Feb. 17, 2020 and Oct. 28, 2020, comprising two
    screenshots and relating to                                     and personal travel.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Jay Carney, and Andrew Herdener between Feb. 19, 2020 and Jan. 30, 2021,
    comprising three screenshots, titled “Jeff, Jay, Drew,” and relating to public relations.
    o DM settings before collection were as follows: 1 week on Feb. 19, 2020 (Bezos).

•   Dave Limp and Jeff Wilke starting on Feb. 20, 2020 and comprising 19 screenshots through
    May 2022, relating to devices, covid, and personnel and personal issues.
    o DM settings before collection were as follows: 1 week on May 14, 2020 (Limp); disabled
       on Oct. 14, 2020 (Limp).

•   Jeff Bezos and Mike Hopkins between March 2, 2020 and March 17, 2022,
    comprising 15 screenshots and relating to personal logistics, personnel issues,
    COVID-related production impacts,                       , MGM, and            .
    o Amazon-FTC-CID_09327813;             Amazon-FTC-CID_09327816;             Amazon-FTC-
       CID_09327818;      Amazon-FTC-CID_09327822;          Amazon-FTC-CID_09327999         to
       Amazon-FTC-CID_09328003
    o DM settings before collection were as follows: 1 week on Apr. 25, 2020 (Bezos); disabled
       on Jan. 4, 2022 (Bezos).

•   Mike Hopkins and Jennifer Salke between March 3, 2020 and Oct. 28, 2021,
    comprising 603 screenshots and relating to personnel issues, the MGM
    transaction, and video production.
    o Amazon-FTC-CID_09328041          to     Amazon-FTC-CID_09328348;     Amazon-FTC-
       CID_09328507 to Amazon-FTC-CID_09328508
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Paul Kotas between March 6, 2020 and May 21, 2022, comprising two
    screenshots.
    o DM settings before collection were as follows: Bezos set DM to 1 week on Mar. 6, 2020
        (Bezos); disabled on May 21, 2022 (Bezos).

•   Peter Krawiec and Cem Sibay between March 15, 2020 and Aug. 14, 2021, comprising two
    screenshots and relating to personal matters.
    o DM settings before collection were as follows: 5 minutes on Mar. 15, 2020 (Sibay);
        disabled on June 28, 2020 (Sibay); 1 week on June 29, 2020 (Sibay); 1 day on July 30,
        2020 (Krawiec); 30 minutes on Feb. 23, 2021 (Sibay); 1 day on Apr. 28, 2021 (Sibay).

•   Jeff Bezos, Dave Clark, Doug Herrington, and Jeff Wilke between March 19, 2020 and Dec. 7,
    2020, comprising three screenshots and titled “Wilke, Doug, Dave, Jeff.”
    o DM settings before collection were as follows: 1 week on Mar. 19, 2020 (Bezos).
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•   Jeff Wilke and Jen Salke on Mar. 20, 2020, comprising two screenshots and relating to
    personnel and the COVID-19 pandemic.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and              between March 23, 2020 and March 16, 2022, comprising seven
    screenshots and relating to
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and John Schoettler between March 24, 2020 and April 16, 2020, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 week on Apr. 16, 2020 (Bezos).

•   Jeff Bezos and Russ Grandinetti on March 25, 2020, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on Mar. 25, 2020 (Bezos).

•   Jeff Wilke and Dave Clark between Mar. 25, 2020 and May 29, 2020, comprising three
    screenshots and relating to a personnel issue.
    o DM settings before collection were as follows: 1 day on Apr. 4, 2020 (Clark); 1 day on Apr.
        5, 2020 (Wilke); 1 day on May 29, 2020 (Wilke).

•   Jeff Wilke and Beth Galetti between Mar. 30, 2020 and Aug. 12, 2020, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 week on July 24, 2020 (Wilke); 1 week on
        Aug. 12, 2020 (Wilke).

•   Jeff Bezos, Jay Carney, Dave Clark, Andrew Herdener, and David Zapolsky between April 2,
    2020 and Jan. 29, 2021, comprising 12 screenshots, titled “Jeff, Dave, Jay, David, Drew,
    Dave,” relating to a public relations issue.
    o DM settings before collection were as follows: 1 day on Apr. 2, 2020 (Bezos).

•   Jeff Wilke and Drew Herdener on Apr. 2, 2020, comprising nine screenshots and relating to
    COVID-19 response and personnel issues.
    o DM settings before collection were as follows: 1 week on unknown date (unknown).

•   Jeff Wilke and David Henri between Apr. 2, 2020 and Aug. 19, 2020, comprising two
    screenshots and relating to personnel issues.
    o DM settings before collection were as follows: 1 week on Aug. 19, 2020 (Wilke).

•   Jeff Bezos and TJ Klomp on April 7, 2020, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on Apr. 7, 2020 (Bezos).

•   Jeff Bezos and Rick Thomas between April 7, 2020 and Sept. 27, 2021, comprising one
    screenshot and relating to Amazon Security.
    o DM settings before collection were as follows: 1 week on Apr. 7, 2020 (Bezos); disabled
        DM on Sept. 7, 2021 (Thomas).

•   Jeff Bezos, Jay Carney, Andrew Herdener, and Andy Jassy between April 23, 2020 and May
    21, 2022, comprising five screenshots, titled “Drew, Jay, Andy, Jeff,” and relating to a news
    article about Bezos’s role.
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    o   DM settings before collection were as follows: 1 day on Apr. 23, 2020 (Bezos); disabled on
        May 21, 2022 (Bezos).

•   Jeff Bezos, Mike Hopkins, Jennifer Salke, and Jay Carney between April 26, 2020 and Dec.
    13, 2021, comprising five screenshots, titled “Mike, Jen, Jeff,” and relating to an
                         and an article about potential awards for Amazon content.
    o DM settings before collection were as follows: 1 week on Apr. 25, 2020 (Bezos); disabled
        on June 20, 2020 (Salke); 1 week on Oct. 23, 2020 (Bezos).

•   Jeff Bezos and Peter Krawiec between April 27, 2020 and March 23, 2022,
    comprising 21 screenshots and relating to meeting logistics, personnel issues,
    the MGM transaction, other corporate development activity, and a logistics issue
    in the UK.
    o Amazon-FTC-CID_09327779;            Amazon-FTC-CID_09328370         to    Amazon-FTC-
        CID_09328371
    o DM settings before collection were as follows: 1 week on Apr. 27, 2020 (Bezos); 1 day on
        Aug. 29, 2020 (Krawiec); disabled on Feb. 1, 2021 (Krawiec).

•   Jeff Wilke and James Dibbo on Apr. 29, 2020, comprising one screenshot and relating to
    email logistics.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Peter DeSantis between May 3, 2020 and March 20, 2021, comprising two
    screenshots and relating to Chime functionality.
    o DM settings before collection were as follows: 1 day on July 2, 2020 (Bezos).

•   Jeff Bezos, Beth Galetti, and David Zapolsky between May 8, 2020 and July 17, 2021, comprising
    seven screenshots, titled “Privileged w/ Beth & DavidZ,” and relating to personnel issues.
    o DM settings before collection were as follows: 1 week on May 30, 2020 (Zapolsky).

•   Jeff Bezos and Ty Rogers between May 11, 2020 and Dec. 11, 2021, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on Dec. 11, 2021 (Bezos).

•   Mike Hopkins and Peter Krawiec between May 11, 2020 and Aug. 30, 2020,
    comprising three screenshots and relating to the MGM transaction and other
    corporate development topics.
    o Amazon-FTC-CID_09328373
    o DM settings before collection were as follows: 1 day on Aug. 30, 2020 (Krawiec).

•   Jeff Bezos and                 between May 17, 2020 and April 1, 2022, comprising 18
    screenshots and relating to
                                                             .
    o   DM settings before collection were as follows: 1 day on May 18, 2020 (Bezos); disabled
        DM on Jan. 19, 2021          .


•   Jeff Wilke and Steve Schmidt between May 5, 2020 and Aug. 15, 2020, comprising two
    screenshots and relating to meeting logistics.
    o DM settings before collection were as follows: 1 day on Aug. 15, 2020 (Schmidt).
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•   Jeff Wilke and Russ Grandinetti starting on May 7, 2020, comprising 12 screenshots through
    May 2022, and relating to personal issues, personnel issues,                          , and
    French business operations.
    o DM settings before collection were as follows: 1 week on Aug. 18, 2020 (Wilke); disabled
        thereafter (specifics unknown).

•   Jeff Bezos, Jay Carney, Andrew Herdener, and Neil Lindsay between May 18, 2020 and April
    22, 2021, comprising nine screenshots, titled “Jeff, Neil L, Jay, Drew,” and relating to media
    logistics and Amazon marketing.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Dave Clark, Jeff Wilke, David Zapolsky, and Pat Bajari between May 24, 2020 and
    Dec. 7, 2020, comprising 10 screenshots, titled “Privileged confidential zapolsky, pat, jaw,
    clark,” relating to the COVID-19 pandemic.
    o DM settings before collection were as follows: 1 week on May 24, 2020 (Bezos).

•   Jeff Wilke and David Zapolsky between June 10, 2020 and Feb. 26, 2022, comprising seven
    screenshots and relating to legal matters.
    o DM settings before collection were as follows: 1 week on June 24, 2020 (Wilke); 1 week on
        Nov. 18, 2021 (Wilke); disabled on Nov. 18, 2021 (Zapolsky); 4 weeks on Feb. 26, 2022
        (Wilke).

•   Dave Limp and Jay Carney between July 1, 2020 and Nov. 3, 2020, comprising three
    screenshots and relating to the 2020 election.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Wilke, Jeff Bezos, and Dave Clark between July 15, 2020 and Oct. 30, 2020, comprising
    four screenshots, titled “FR,” and relating to organization changes and the French business.
    o DM settings before collection were as follows: DM was never enabled.

•   Dave Limp, Jay Carney, Beth Galetti, Andy Jassy, and Jeff Wilke on July 19, 2020, comprising
    seven screenshots, titled “BG, AJ, JAW, DL, DZ, JC” and relating to public relations.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Jon Rubinstein between May 28, 2020 and March 1, 2022, comprising 16
    screenshots and relating to call scheduling and miscellaneous personal and business issues.
    o DM settings before collection were as follows: 1 week on May 24, 2020 (Bezos).

•   Mike Hopkins and Jay Carney between May 30, 2020 and Oct. 3, 2021,
    comprising 51 screenshots and relating to public relations issues.
    o Amazon-FTC-CID_09327846 to Amazon-FTC-CID_09327852
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Jay Carney, Andrew Herdener, and Andy Jassy between June 10, 2020 and Jan. 6,
    2022, comprising three screenshots and titled “Facial Recognition.”
    o DM settings before collection were as follows: 1 day on June 10, 2020 (Bezos).
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•   Peter Krawiec and Jeff Wilke between June 12, 2020 and Feb. 1, 2021, comprising eight
    screenshots and relating to Zoox and personnel issues.
    o DM settings before collection were as follows: 1 week on July 24, 2020 (Wilke); disabled
        on Feb. 1, 2021 (Krawiec).

•   Dave Limp and David Zapolsky between June 12, 2020 and Mar. 1, 2022, comprising two
    screenshots.
    o DM settings before collection were as follows: 1 hour on June 12, 2020 (Limp); disabled
        on Mar. 1, 2022 (Limp).

•   Jeff Bezos, Jay Carney, and David Zapolsky between June 14, 2020 and Jan. 14, 2021,
    comprising 23 screenshots, titled “Privileged w/ Zapolsky & Carney,” relating to regulatory
    affairs.
    o DM settings before collection were as follows: 1 week on June 26, 2020 (Bezos).

•   Jeff Bezos, Jay Carney, Dave Clark, Beth Galetti, Andrew Herdener, and Andy Jassy between
    June 15, 2020 and Jan. 29, 2021, comprising 38 screenshots, titled
    “Jeff/Jay/Beth/Andy/Drew/Dave,” and relating to the Juneteenth holiday.
    o DM settings before collection were as follows: 1 week on June 15, 2020 (Bezos).

•   Jeff Bezos, Jay Carney, Andrew Herdener, David Limp, and David Zapolsky between July 14,
    2020 and May 21, 2022, comprising seven screenshots, titled “Jeff/Davel/DavidZ/Jay/Drew,”
    and relating to a public relations issue.
    o DM settings before collection were as follows: 1 day on July 14, 2020 (Bezos); disabled on
        May 21, 2022 (Bezos).

•   Jeff Bezos, Jay Carney, Andrew Herdener, and              between June 23, 2020 and Aug.
    31, 2021, comprising 26 screenshots, titled “Jeff/Jay/Drew/     and relating to an agenda
    for a meeting and personal public relations.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Peter DeSantis, and Andy Jassy between July 1, 2020 and May 29, 2021,
    comprising three screenshots, titled “Peter, Jeff, and Andy.”
    o DM settings before collection were as follows: 1 day on July 1, 2020 (Bezos); disabled on
        May 21, 2022 (Bezos).

•   Jeff Bezos, Michael Frazzini, Andy Jassy, and Bing “Primary” between July 2, 2020 and Jan.
    6, 2022, comprising 29 screenshots, titled “Crucible Update,” and relating to updates on video
    games.
    o DM settings before collection were as follows: DM was never enabled.

•   Dave Limp and Steve Schmidt on July 10, 2020, comprising one screenshot and including one
    message saying hello.
    o DM settings before collection were as follows: 1 day on July 10, 2020 (Schmidt); disabled
       on Mar. 1, 2022 (Limp).

•   Jeff Bezos, Jay Carney, Andrew Herdener, Neal Karlinsky, Christina Lee, Dan Perlet, and
    Lauren Sanborn between July 15, 2020 and March 17, 2021, comprising 14 screenshots, titled
    “Jeff Social,” and relating to environmental and                        .
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    o   DM settings before collection were as follows: 1 week on Sept. 9, 2020 (Bezos).

•   Dave Limp and                between July 18, 2020 and Dec. 28, 2021, comprising two
    screenshots, prompting Limp to respond to an email.
    o DM settings before collection were as follows: 6 hours on July 18, 2020 (Limp); disabled
        on Dec. 17, 2021 (Limp).

•   Jeff Wilke and Darcie Henry between July 18, 2020 and Mar. 1, 2021, comprising 25
    screenshots and relating to personnel issues.
    o DM settings before collection were as follows: DM never enabled.

•   Jeff Bezos, Jay Carney, Andrew Herdener, and David Zapolsky between July 28, 2020 and
    Jan. 30, 2021, comprising four screenshots, titled “Privileged Jeff/Jay/David/Drew,” and
    relating to a public relations issue.
    o DM settings before collection were as follows: 1 week on July 30, 2020 (Bezos).

•   Jeff Bezos, Andy Jassy, and Dave Limp between July 30, 2020 and May 21, 2022, comprising
    10 screenshots, titled “Kuiper Call,” and relating to Project Kuiper, a broadband internet
    project.
    o DM settings before collection were as follows: 1 day on July 30, 2020 (Bezos); disabled on
        May 21, 2022 (Bezos).

•   Dave Limp and Tobias Straub starting on July 30, 2020 and comprising two screenshots
    through May 2022, and relating to communications.
    o DM settings before collection were as follows: 1 day on July 30, 2020 (Limp); disabled on
        Mar. 1, 2022 (Limp).

•   Andy Jassy, Dave Limp, and Jeff Wilke in August 2020, comprising four screenshots and
    titled “Update.”
    o DM settings before collection were as follows: 1 day in August 2020 (Limp).

•   Peter Krawiec and Dave Limp between Aug. 1, 2020 and June 14, 2021, comprising three
    screenshots and relating to a software company and an online entertainment company.
    o DM settings before collection were as follows: 1 day on Aug. 12, 2020 (Krawiec); disabled
        on Oct. 2, 2020 (Limp).

•   Andy Jassy and Peter Krawiec between Aug. 2, 2020 and Apr. 4, 2022, comprising 14
    screenshots and relating to a press release concerning                       , call scheduling,
    and personal issues.7
    o DM settings before collection were as follows: 1 day on Aug. 4, 2020 (Jassy); 1 week on
        Apr. 15, 2021 (Jassy); 1 week on May 28, 2021 (Krawiec); 1 week on Dec. 1, 2021 (Krawiec);
        1 week on Jan. 6, 2022 (Jassy); disabled on Feb. 10, 2022 (Krawiec).

•   Dave Limp and Rob Williams between Aug. 3, 2020 and Nov. 16, 2021, comprising five
    screenshots and relating to device security.

7 This thread was previously logged.     Five additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
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    o   DM settings before collection were as follows: 1 week on Aug. 3, 20202 (Williams); 1 day
        on Aug. 3, 2020 (Williams); disabled on Oct. 2, 2020 (Limp); 1 week on Jan. 8, 2021
        (Williams); disabled on Nov. 16, 2021 (Limp).

•   Dave Limp and Robert Stites between Aug. 3, 2020 and Dec. 7, 2021, comprising two
    screenshots and relating to public relations.
    o DM settings before collection were as follows: 1 day on Aug. 3, 2020 (Limp); disabled on
        Nov. 20, 2020 (Limp).

•   Dave Limp and Marc Whitten between Aug. 3, 2020 and Jan. 13, 2021, comprising five
    screenshots and relating to FireTV, Amazon Luna, and logistics.
    o DM settings before collection were as follows: 1 day on Aug. 3, 2020 (Limp); disabled on
        Oct. 2, 2020 (Limp).

•   Dave Limp and Jamie Siminoff on Aug. 3, 2020, comprising two screenshots and relating to

    o   DM settings before collection were as follows: 1 day on Aug. 3, 2020 (Limp); disabled on
        Mar. 1, 2022 (Limp).

•   Peter Krawiec and                        between Aug. 4, 2020 and Feb. 1, 2021, comprising
    three screenshots and relating to Deliveroo.
    o DM settings before collection were as follows: 1 day on Aug. 12, 2020 (Krawiec); disabled
        on Feb. 1, 2020 (Krawiec).

•   Dave Limp and Jeff Wilke between Aug. 4, 2020 and Feb. 1, 2021, comprising one screenshot.
    o DM settings before collection were as follows: 1 day on Aug. 5, 2020 (Limp); disabled on
       Oct. 14, 2020 (Limp).

•   Dave Limp and Brian Huseman between Aug. 10, 2020 and Sept. 22, 2021, comprising three
    screenshots and relating to public policy issues.
    o DM settings before collection were as follows: 12 hours on Aug. 10, 2020 (Limp); disabled
        on Nov. 20, 2020 (Limp).

•   Mike Hopkins and David Limp on Aug. 11, 2020, comprising two screenshots with the text
    “Ping”.
    o DM settings before collection were as follows: 1 day on Aug. 11, 2020 (Limp); disabled on
        Nov. 18, 2021 (Limp).

•   Dave Limp and Jon Kirk between Aug. 11, 2020 and Nov. 20, 2020, comprising two
    screenshots and relating to meeting logistics.
    o DM settings before collection were as follows: 1 day on Aug. 11, 2020 (Limp); disabled on
        Nov. 20, 2020 (Limp).

•   Dave Limp and John Schoettler between Aug. 12, 2020 and Mar. 1, 2022, comprising two
    screenshots and relating to real estate.
    o DM settings before collection were as follows: 1 day on Aug. 12, 2020 (Limp); disabled on
        Mar. 1, 2022 (Limp).
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•   Jeff Bezos, Mike Hopkins, and Jay Carney between Aug. 17, 2020 and Jan. 13, 2021,
    comprising two screenshots, titled “Social Post,” and relating to public relations concerning
    social media posts.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Beth Galetti, and David Zapolsky between Aug. 17, 2020 and July 17, 2021,
    comprising five screenshots, titled “Privileged – DZ, BethG, DZ,” relating to personnel issues.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Claudine Cheever, Andrew Herdener, Neal Karlinsky, and Neil Lindsay between
    Aug. 18, 2020 and May 3, 2022, comprising six screenshots, titled “MTM Update,” and
    relating to sustainability-related marketing.
    o DM settings before collection were as follows: DM was never enabled.

•   Dave Limp and Aaron McGrath on Aug. 18, 2020, comprising one screenshot.
    o DM settings before collection were as follows: 1 day on Aug. 18, 2020 (Limp); disabled on
       Nov. 20, 2020 (Limp).

•   Jeff Bezos, Andrew Herdener, Jay Carney, and David Zapolsky between Aug. 28, 2020 and
    Feb. 2, 2021, comprising 40 screenshots, titled “Jeff/Jay/David/ Drew,” and relating to public
    relations and personnel issues.
    o DM settings before collection were as follows: 1 week on Nov. 24, 2020 (Bezos).

•   Jeff Bezos, Jay Carney, Andrew Herdener, and David Zapolsky between Aug. 31, 2020 and
    Jan. 30, 2021 comprising three screenshots, titled “Jeff/Jay/David/Drew,” and relating to
    scheduling a Board meeting.
    o DM settings before collection were as follows: 1 week on Sept. 1, 2020 (Bezos).

•   Jeff Bezos, Mike Hopkins, and Dave Limp between Sept. 1, 2020 and March 1, 2022,
    comprising three screenshots, titled “Follow Up,” and relating to Prime Video.
    o DM settings before collection were as follows: 1 week on Sept. 2, 2020 (Bezos); disabled
        on Mar. 1, 2021 (Limp).

•   Jeff Bezos, Jay Carney, Andrew Herdener, Andy Jassy, and David Zapolsky between Sept. 4,
    2020 and Jan. 6, 2022, comprising 33 screenshots, titled “Jeff/DavidZ/Andy/Jay/Drew,”
    relating to an
    o DM settings before collection were as follows: DM was never enabled.

•   Dave Limp and Kinley Pearsall starting on Sept. 8, 2020 and comprising 109 screenshots
    through May 2022, and relating to public relations, personnel issues, covid, devices,
    scheduling, logistics, travel plans, space travel, and personal issues.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Jay Carney, Andrew Herdener, and David Zapolsky between Sept. 9, 2020 and Jan.
    30, 2021, comprising three screenshots and titled “Jeff/Jay/DavidZ/Drew.”
    o DM settings before collection were as follows: 1 week on Sept. 9, 2020 (Bezos).
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•   Jeff Bezos, Jay Carney, Andrew Herdener, and Neal Karlinsky between Sept. 9, 2020 and Jan.
    30, 2021, comprising 13 screenshots, titled “Jeff, Jay, Drew, Neal” and relating to public
    relations about Rivian vans, environmental issues, and a 103-year old Alexa user.
    o DM settings before collection were as follows: 1 week on Nov. 7, 2020 (Bezos).

•   Jeff Bezos, Dave Clark, Doug Herrington, and Jeff Wilke on Sept. 9, 2020, comprising one
    screenshot and titled “JAW, Doug, Dave, Jeff.”
    o DM settings before collection were as follows: 1 week on unknown date (Bezos).

•   Dave Limp, Jay Carney, Drew Herdener, and Neal Karlinksy between Sept. 23, 2020 and Sept.
    25, 2020, comprising 18 screenshots and relating to public relations and environmental
    sustainability.
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy and Thomas Taylor on Sept. 24, 2020, comprising one screenshot and relating
    to personnel.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Jay Carney, Andrew Herdener, Neal Karlinsky, and David Limp between Sept. 24,
    2020 and Jan. 30, 2021, comprising 44 screenshots, titled “Jeff, DaveL, Jay, Drew, Neal,” and
    relating to a public relations statement regarding the environmental sustainability of Amazon
    production activities.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Jay Carney, Dave Clark, Andrew Herdener, Ty Rogers, and David Zapolsky
    between Sept. 28, 2020 and Feb. 12, 2021, comprising 47 screenshots, titled “Privileged and
    Confidential,” relating to COVID-19.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Jennifer Salke, Jay Carney, and Mike Hopkins between Sept. 28, 2020 and Dec.
    13, 2021, comprising three screenshots, titled “Jeff, Jen, Jay, Mike,” and sharing a link to a
    movie trailer.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Michael Frazzini, and Bing “Primary” between Oct. 1, 2020 and March 22, 2022,
    comprising seven screenshots, titled “AGS Update,” and relating to video game development.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and       on Oct. 2, 2020, comprising two screenshots, and including the text
    “Hi”.
    o DM settings before collection were as follows: 1 week on Oct. 2, 2020 (Bezos).

•   Peter Krawiec and Abhijeet Muzumdar between Oct. 3, 2020 and Feb. 9, 2021, comprising
    nine screenshots and relating to meeting scheduling, the approval process for smaller deals,
    and personnel dynamics.
    o DM settings before collection were as follows: 12 hours on Oct. 3, 2020 (Krawiec); disabled
       on Feb. 1, 2021 (Krawiec).
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•   Andy Jassy and Mike Hopkins between Oct. 7, 2020 and Oct. 16, 2020, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 week on Oct. 7, 2020 (Jassy); 1 week on
        Oct. 16, 2020 (Jassy); 1 day on Oct. 16, 2020 (Jassy).

•   Dave Clark and Beth Galetti between Oct. 29, 2020 and July 5, 2022, comprising 136
    screenshots and relating to personnel and organizational issues, COVID-19, remote work,
    meeting scheduling and logistics, holiday and COVID-19-related bonuses, and personal
    issues.
    o DM settings before collection were as follows: 1 week on Jan. 11, 2021 (Clark); disabled on
        July 19, 2021 (Galetti); 1 week on July 21, 2021 (Clark).

•   Dave Clark and Darcie Henry between Oct. 29, 2020 and Feb. 23, 2021, comprising 66
    screenshots and relating to succession planning, hiring strategy, and organizational and
    personnel issues.
    o DM settings before collection were as follows: 1 week on Dec. 10, 2020 (Clark).

•   Dave Clark and Kelly Cheeseman between Oct. 30, 2020 and June 7, 2022, comprising 54
    screenshots and relating to personnel issues, Clark’s departure, and personal conversation.
    o DM settings before collection were as follows: 1 day on Oct. 30, 2020 (Cheeseman);
        disabled on Apr. 22, 2022 (Clark); one week on May 23, 2022 (Clark); five minutes on
        June 3, 2022 (Cheeseman); 1 day on June 3, 2022 (Cheeseman); disabled on June 7, 2022
        (Clark).

•   Andy Jassy and Dave Clark between Nov. 3, 2020 and April 11, 2022, comprising 20
    screenshots and relating to personnel, community engagement in Seattle, renewable energy,
    COVID-19, polling at a fulfillment center, and safety-related visits to fulfillment centers.8
    o DM settings before collection were as follows: 1 day on unknown date (Jassy); disabled on
        Nov. 3, 2020 (Clark); 1 week on Nov. 11, 2020 (Jassy); disabled on Jan. 4, 2021 (Jassy); 1
        day on Jan. 8, 2021 (Jassy); 1 week on Mar. 3, 2021 (Jassy); 1 week on June 1, 2021 (Jassy);
        disabled on Jan. 4, 2022 (Jassy); 1 day on Jan. 12, 2022 (Jassy); disabled on Jan. 18, 2022
        (Jassy).

•   Jeff Bezos, Mike Hopkins, and Jen Salke between Nov. 11, 2020 and Dec. 13,
    2021, comprising 16 screenshots, titiled “Jeff & Mike,” and relating to content
    negotiation and potential Studios content opportunities.
    o Amazon-FTC-CID_09327799 to Amazon-FTC-CID_09327809
    o DM settings before collection were as follows: DM was never enabled.

•   Dave Clark and David Zapolsky on Nov. 16, 2020, comprising three screenshots, and relating
    to personal security.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Ty Rogers, Jay Carney, Dave Clark, and Andrew Herdener between Nov. 24, 2020
    and May 21, 2022 and titled “Holiday Bonus Blog.”

8 This thread was previously logged.     Three additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
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    o   DM settings before collection were as follows: 1 week on Nov. 24, 2020 (Bezos); disabled
        on May 21, 2022 (Bezos).

•   Jeff Bezos, Andrew Herdener, Jay Carney, Dave Clark, and Ty Rogers between Nov. 24, 2020
    and May 21, 2022, comprising six screenshots, titled “Jeff / Jay / Dave / Ty / Drew,” and
    relating to a press release about holiday bonuses.
    o DM settings before collection were as follows: 1 week on Nov. 24, 2020 (Bezos); disabled
        on May 21, 2022 (Bezos).

•   Jeff Bezos and Claudine Cheever between Nov. 25, 2020 and Nov. 27, 2020, comprising two
    screenshots and relating to casting for a Super Bowl advertisement.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Wilke and Dave Clark starting on Dec. 8, 2020 and comprising one screenshot through
    May 2022.
    o DM settings before collection were as follows: 1 day on Dec. 8, 2020 (Clark).

•   Jeff Wilke and Jay Carney between Dec. 9, 2020 and Oct. 7, 2021, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on Dec. 9, 2020 (Carney).

•   Jeff Bezos, Dan Perlet, Jay Carney, Beth Galetti, and Andrew Herdener between Dec. 19, 2020
    and July 17, 2021, comprising two screenshots and titled “Jeff/Beth/Jay/Drew/Dan.”
    o DM settings before collection were as follows: 1 week on Dec. 19, 2020 (Perlet).

•   Jeff Bezos, Andrew Herdener, Jay Carney, and Dan Perlet between Dec. 20. 2020 and Jan.
    29, 2021, comprising two screenshots, titled “Jeff/Jay/Drew/Dan,” and relating to a COVID-
    19 relief donation.
    o DM settings before collection were as follows: 1 week on Dec. 20, 2020 (Bezos).

•   Jeff Bezos, Beth Galetti, and Jeff Wilke between Jan. 5, 2021 and July 17, 2021, comprising
    two screenshots and titled “Jeff, JAWS, and Beth.”
    o DM settings before collection were as follows: 1 week on Jan. 5, 2021 (Unknown).

•   Mike Hopkins, Jennifer Salke, and Jay on Jan. 7, 2021, comprising one screenshot.
    • DM settings before collection were as follows: DM was never enabled.

•   Dave Limp and Jorrit Van der Meulen between Jan. 20, 2021 and Sept. 29, 2021, comprising
    ten screenshots and relating to personnel issues, covid, generally how a meeting went,
    personal issues, and congratulations.
    o DM settings before collection were as follows: DM never enabled.

•   Jeff Bezos, Jay Carney, Andrew Herdener, and David Zapolsky between Jan. 7, 2021 and Jan.
    30, 2021, comprising two screenshots and titled “Drew, Jay, DavidZ, Jeff.”
    o DM settings before collection were as follows: 1 week on Jan. 7, 2021 (Bezos).

•   Dave Clark and Mike George between Jan. 21, 2021 and Nov. 7, 2021, comprising 10
    screenshots and relating to Clark’s new role, a news article, and Amazon’s customer service.
    o DM settings before collection were as follows: 1 week on Nov. 7, 2021 (George).
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•   Jeff Bezos and Dan Huttenlocher on Jan. 22, 2021, comprising one screenshot and relating to
    an Amazon Board meeting.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Mike Hopkins, Amit Agarwal, and Jay Carney between Jan. 23, 2021 and Jan. 24,
    2022, comprising five screenshots, titled “India Issue,” and relating to an issue in India.
    o DM settings before collection were as follows: DM was never enabled.

•   Amit Agarwal, Jennifer Salke, Jay Marine, and Mike Hopkins on Jan. 23, 2021, comprising
    nine screenshots and relating to public relations issues in India.
    o DM settings before collection were as follows: DM was never enabled.

•   Mike Hopkins and Jay Marine between Jan. 23, 2021 and Dec. 21, 2021,
    comprising 292 screenshots and relating to personnel issues, the MGM
    transaction, Prime Video, and other issues.
    o Amazon-FTC-CID_09327853          to      Amazon-FTC-CID_09327994;    Amazon-FTC-
       CID_09328485 to Amazon-FTC-CID_09328499
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Wilke and Brian Olsavsky between Jan. 23, 2021 and Feb. 11, 2021, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 day on Feb. 11, 2021 (Wilke).

•   Jeff Bezos, Jay Carney, and Drew Herdener on Jan. 30, 2021, comprising two screenshots and
    titled “Drew, Jay.”
    o DM settings before collection were as follows: 1 week on Jan. 30, 2021 (Unknown).

•   Dave Limp and Tom Taylor on Feb. 1, 2021, comprising one screenshot and relating to a
    personnel issue.
    o DM settings before collection were as follows: DM was never enabled.

•   Dave Clark and                      between Feb. 2, 2021 and May 4, 2022, comprising 37
    screenshots and relating to personnel, administrative, and personal issues.
    o DM settings before collection were as follows: 1 hour on June 2, 2021           ; disabled
        on Nov. 15, 2021            ; 1 day on Apr. 12, 2022 (Clark); disabled on Apr. 22, 2022
        (Clark).

•   Jeff Bezos and                   between Feb. 3, 2021 and March 29, 2022, comprising 10
    screenshots and relating to networking and potential investments unrelated to Amazon.
    o DM settings before collection were as follows: DM was never enabled.

•   Peter Krawiec and Kurt Zumwalt on Feb. 4, 2021, comprising three screenshots and relating
    to scheduling a time to speak.
    o DM settings before collection were as follows: DM was never enabled.

•   Mike Hopkins, Jennifer Salke, Jay Marine, and Aaron McGrath between Feb. 7, 2021 and Feb.
    8, 2021, comprising seven screenshots, titled “Mike and jay m,” relating to a public relations
    issue.
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    o   DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy and Andrew Herdener, comprising 247 screenshots between Mr. Jassy’s receipt of
    a hold notice on February 10, 2021 and Apr. 6, 2022, and relating to scheduling a facility tour
    for governors, public relations issues, and other work and personal issues. 9
    o DM settings before collection were as follows: 1 week on July 23, 2021 (Jassy); 1 day on
        October 13, 2021 (Jassy); 1 day on Dec. 1, 2021 (Jassy); disabled on Dec. 13, 2021 (Jassy);
        1 week on Dec. 14, 2021 (Jassy); 1 day on Dec. 20, 2021 (Jassy); 1 week on Jan. 3, 2021
        (Jassy); 1 day on Feb. 3, 2022 (Jassy); disabled on Feb. 10, 2022 (Jassy); 1 day on Feb. 11,
        2022 (Jassy); disabled on Feb. 25, 2022 (Jassy).

•   Andy Jassy and Beth Galetti, comprising 116 screenshots from Mr. Jassy’s receipt of a hold
    notice on February 10, 2021 through May 2022, and relating to employee compensation,
    personnel issues, communication logistics, and personal issues. 10
    o DM settings before collection were as follows: 1 day on unknown date (Galetti); 1 week on
        Aug. 17, 2021 (Jassy); 1 day on Oct. 14, 2021 (Jassy); 1 week on Oct. 14, 2021 (Jassy); 1
        week on Jan. 10, 2022 (Jassy); 1 day on Jan. 11, 2022 (Jassy); 1 week on Jan. 11, 2022
        (Jassy); 1 day on Jan. 20, 2022 (Jassy); 1 week on Jan. 20, 2022; 1 day on Jan. 20, 2022
        (Jassy); 1 week on Jan. 20, 2022; disabled on Feb. 27, 2022 (Jassy).

•   Andy Jassy and Bob Kimball, comprising 11 screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Feb. 20, 2022, and relating to microchips. 11
    o DM settings before collection were as follows: 1 day on June 4, 2021 (Jassy); disabled
       sometime prior to Feb. 11, 2022 (unknown).

•   Andy Jassy and Charlie Bell, comprising three screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Nov. 29, 2021, and relating to communications.
    o DM settings before collection were as follows: 1 day on June 29, 2021 (Jassy); 1 week on
       July 29, 2021 (Jassy); 1 day on Aug. 9, 2021 (Jassy).

•   Andy Jassy and Dan Grossman, comprising nine screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Jan. 14, 2022, and relating to
          , and a request for a call. 12
    o DM settings before collection were as follows: 1 week on Feb. 22, 2021 (Jassy); 1 week on
       unknown date (Grossman); 1 week on Dec. 29, 2021 (Jassy); disabled on unknown date
       (unknown).



9 This thread was previously logged.     Three additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
10 This thread was previously logged.     Two additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
11 This thread appears on the Blackberries that prompted this log update and also includes

additional communications and settings on Mr. Jassy’s subsequent Signal devices.
12 This thread was previously logged.    Two additional screenshot was collected from Mr. Jassy
in the collection reflected in this update.
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•   Andy Jassy and David Brown, comprising three screenshots between Mr. Jassy’s receipt of
    a hold notice on February 10, 2021 and Apr. 20, 2021, and relating to personnel issues and
    meeting preparations.
    o DM settings before collection were as follows: 1 day on Apr. 20, 2021 (Brown).

•   Andy Jassy and David Zapolsky, comprising 10 screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Feb. 11, 2022, and relating to regulatory filings and
    messaging practices. 13
    o DM settings before collection were as follows: 1 day on Feb. 11, 2021 (Jassy); 1 week on
       Sept. 13, 2021 (Jassy); 1 day on Sept. 13, 2021 (Zapolsky); 1 week on Jan. 11, 2022 (Jassy);
       disabled on Feb. 10, 2022 (Jassy).

•   Andy Jassy and Emmett Shear, comprising one screenshot between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and October 7, 2021, and related to Twitch.
    o DM settings before collection were as follows: 1 week on Oct. 7, 2021 (Jassy).

•   Andy Jassy and Guy Palumbo comprising 244 screenshots from Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 through May 2022, and relating to public relations,
    public policy issues, and personal matters. 14
    o DM settings before collection were as follows: 6 hours on Mar. 8, 2021 (Palumbo);
       disabled on Apr. 24, 2021 (Palumbo); 6 hours on Apr. 24, 2021 (Palumbo); 1 day on
       May 24, 2021 (Jassy); 1 day on June 2, 2021 (Palumbo); 1 day on Jan. 13, 2022
       (Palumbo); disabled on Jan 13, 2022 (Jassy).

•   Andy Jassy and Jay Carney, comprising 33 screenshots between Mr. Jassy’s receipt of a hold
    notice on February 10, 2021 and Feb. 10, 2022, and relating to lobbying. 15
    o DM settings before collection were as follows: 1 day on unknown date (Jassy); 1 week on
        August 25, 2021 (Jassy); 1 day on August 25, 2021 (Jassy); 1 week on Sept. 8, 2021
        (Jassy); 1 week on Jan. 11, 2022 (Jassy); disabled on Feb. 10, 2022 (Jassy).

•   Andy Jassy and Ian Wilson, comprising three screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Feb. 19, 2022, and relating to personal matters. 16
    o DM settings before collection were as follows: 1 week on Feb. 22, 2021 (Jassy); 1 day on
       Mar. 1, 2021 (Jassy); 1 week on unknown date (Jassy); 1 day on unknown date (Wilson);
       1 week on July 26, 2021 (Jassy); 1 week on Jan. 10, 2022 (Wilson); disabled on Feb. 10,
       2022 (Jassy).



13 This thread was previously logged.     Two additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
14 This thread appears on the Blackberries that prompted this log update and also includes

additional communications and settings on Mr. Jassy’s subsequent Signal devices.
15 This thread was previously logged.     Two additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
16 This thread appears on the Blackberries that prompted this log update and also includes

additional settings on Mr. Jassy’s subsequent Signal devices.
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•   Andy Jassy and Kathrin Buvac, comprising two screenshots between Mr. Jassy’s receipt of
    a hold notice on February 10, 2021 and April 8, 2021.
    o DM settings before collection were as follows: 1 week on Apr. 8, 2021 (Jassy).

•   Andy Jassy and Matt Garman, comprising 83 screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Mar. 2, 2022, and relating to a government contract,
    AWS’s annual conference, personnel issues,
                                 , personnel issues, investment in security space, internal
    communications about world events, and personal issues.17
    o DM settings before collection were as follows: 1 day on unknown date (Garman); 1 week
       on unknown date (Jassy); disabled on July 2, 2021 (Garman); 1 week on Dec. 8, 2021
       (Jassy); 1 week on Jan. 5, 2022 (Garman); disabled on Jan. 5, 2022 (Garman); 1 week on
       Jan. 6, 2022 (Jassy); disabled on Feb. 10, 2022 (Jassy).

•   Andy Jassy and Mike George, comprising 27 screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Jan. 8, 2022, and relating to executive recruitment,
    various Amazon partnerships, Amazon Pay and personal matters. 18
    o DM settings before collection were as follows: disabled on March 23, 2021 (George); 1
       day on August 14, 2021 (Jassy); 1 day on Jan. 8, 2022 (George).

•   Andy Jassy and Patrick Collison, comprising one screenshot between Mr. Jassy’s receipt of
    a hold notice on February 10, 2021 and October 2021.
    o DM settings before collection were as follows: 1 day in October 2021 (Collison).

•   Andy Jassy and Peter DeSantis, comprising 14 screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Feb. 25, 2022, and relating to AWS’s annual conference
    and personnel and organizational issues. 19
    o DM settings before collection were as follows: 1 week on unknown date (Jassy); 1 week on
       Dec. 22, 2021 (Jassy); 1 week on Jan. 6, 2022 (DeSantis); disabled on Feb. 25, 2022
       (Jassy).

•   Andy Jassy and Sara Duffer, comprising 17 screenshots between Mr. Jassy’s receipt of a hold
    notice on February 10, 2021 and Feb. 25, 2022, and relating to administrative and personal
    issues. 20
    o DM settings before collection were as follows: 1 day on unknown date (Jassy); 1 week on
        July 6, 2021 (Jassy); 4 weeks on Jan. 11, 2022 (Jassy); 1 week on Jan. 11, 2022 (Jassy);
        disabled on Feb. 10, 2022 (Jassy); 1 week on Feb. 18, 2022 (Jassy); disabled on Feb. 25,
        2022 (Jassy).

17 This thread was previously logged.     Five additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
18 This thread appears on the Blackberries that prompted this log update and also includes

additional settings on Mr. Jassy’s subsequent Signal devices.
19 This thread was previously logged.     Two additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
20 This thread was previously logged.    One additional screenshot was collected from Mr. Jassy
in the collection reflected in this update.
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•   Andy Jassy and Soo Lee, comprising one screenshot between Mr. Jassy’s receipt of a hold
    notice on February 10, 2021 and October 21, 2021.
    o DM settings before collection were as follows: 1 day on Oct. 21, 2021 (Jassy).

•   Andy Jassy and               , comprising 33 screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Mar. 2, 2022, and relating to scheduling and other
    administrative tasks. 21
    o DM settings before collection were as follows: 1 day on an unknown date               ;
       disabled sometime prior to Feb. 3, 2022 (unknown).

•   Andy Jassy and Stephen Schmidt, comprising 16 screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Feb. 28, 2022, and relating to cybersecurity, AWS’s
    annual conference, personnel and organizational issues. 22
    o DM settings before collection were as follows: 1 week on June 5, 2021 (Jassy); 1 day on
       Dec. 9, 2021 (Jassy); 1 day on Jan. 8, 2022; disabled on Feb. 27, 2022 (Jassy); 1 week on
       Feb. 28, 2022 (Jassy).

•   Andy Jassy and                 , comprising 95 screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and Mar. 3, 2022, and relating to administrative and
    personal issues. 23
    o DM settings before collection were as follows: 1 day on July 26, 2021 (Jassy); 1 day on Jan.
       28, 2022 (Jassy); disabled on Jan. 28, 2022 (Jassy).

•   Andy Jassy and Teresa Carlson, comprising six screenshots between Mr. Jassy’s receipt of a
    hold notice on February 10, 2021 and May 3, 2021, and relating to personal matters.
    o DM settings before collection were as follows: 1 day on May 3, 2021 (Jassy); 1 day on
       unknown date (Carlson); disabled on November 15, 2021 (Carlson).

•   Andy Jassy and James Hamilton between February 12, 2021 and Mar. 2, 2022, comprising 13
    screenshots and relating to artificial intelligence and personal matters. 24
    o DM settings before collection were as follows: 1 week on Feb. 17, 2021 (Jassy); 1 day on
        July 27, 2021 (Jassy); 1 week on Aug. 31, 2021 (Jassy); disabled on Nov. 14, 2021
        (Hamilton); 1 week on Nov. 16, 2021 (Jassy); disabled on Nov. 16, 2021 (Hamilton); 1 day
        on Jan. 6, 2022 (Hamilton); 2 days on Feb. 21, 2022 (Hamilton); disabled on Feb. 25,
        2022 (Hamilton).



21 This thread appears on the Blackberries that prompted this log update and also includes

additional communications or settings on Mr. Jassy’s subsequent Signal devices.
22 This thread was previously logged.     Four additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
23 This thread was previously logged.    One additional screenshot was collected from Mr. Jassy
in the collection reflected in this update.
24 This thread was previously logged.     Eight additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
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•   Andy Jassy, Peter DeSantis, Matt Garman between Feb. 17, 2021 and Feb. 18, 2021,
    comprising 31 screenshots, titled “peter_matt_aj,” and relating to potential AWS clients.
    o DM settings before collection were as follows: 1 week on Feb. 18, 2021 (Jassy).

•   Mike Hopkins, Jay Carney, and Jennifer Salke on Feb. 26, 2021, comprising two screenshots
    and relating to employee security in India.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Jamie Gorelick between Feb. 27, 2021 and Dec. 6, 2021, comprising three
    screenshots, and relating to call logistics, current events, and personal issues.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Neal Karlinsky, Jennifer Salke, Lauren Sanborn, and Jay Carney
    between Feb. 28, 2021 and Dec. 13, 2021, comprising 18 screenshots, titled
    “Oscars/Jeff IG,” and relating to the Oscars.
    o Amazon-FTC-CID_09327782 to Amazon-FTC-CID_09327798
    o DM settings before collection were as follows: DM was never enabled.

•   Mike Hopkins, Jay Carney, Amit Agarwal, and Jennifer Salke between March 1, 2021 and
    March 2, 2021, comprising seven screenshots and relating to public relations issues in India.
    o DM settings before collection were as follows: DM was never enabled.

•   Peter Krawiec and Jennifer Salke on March 2, 2021, comprising two screenshots
    and relating to the MGM transaction.
    o Amazon-FTC-CID_09328372
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Jennifer Salke, and Mike Hopkins between March 6, 2021 and Dec.
    13, 2021, comprising 30 screenshots, titled “Jeff Jen Mike,” and relating to Prime
    Video content.
    o Amazon-FTC-CID_ 09327764 to Amazon-FTC-CID_09327778
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and                 between March 16, 2021 and July 9, 2021,
    comprising nine screenshots and relating to

    o   Amazon-FTC-CID_ 09327763
    o   DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy and Mike Hopkins between March 18, 2021 and June 28, 2021,
    comprising 13 screenshots and relating to the MGM transaction, the NFL, Prime
    Video, and other issues.
    o Amazon-FTC-CID_09327830           to     Amazon-FTC-CID_09327838;          Amazon-FTC-
       CID_09328509 to Amazon-FTC-CID_09328510
    o DM settings before collection were as follows: 1 week on June 28, 2021 (Jassy).

•   Dave Clark, David Zapolsky, Andrew Herdener, and Jay Carney between March 21, 2021 and
    March 30, 2021, comprising two screenshots, titled “Clark/Drew/Carney/DZ-Privileged,” and
    relating to
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    o   DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and                between March 20, 2021 and April 8, 2021, comprising two
    screenshots and relating to a                                              .
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Andrew Herdener, Jay Carney, Dave Clark, Andy Jassy, Dan Perlet, Ty Rogers, and
    David Zapolsky between March 26, 2021 and May 21, 2022, comprising 12 screenshots, titled
    “Andy/Drew/JB/Jay/Dave/Ty/DZ/Dan,” and relating to public relations issues.
    o DM settings before collection were as follows: 1 day on Mar. 26, 2021 (Clark); disabled on
        May 21, 2022 (Bezos).

•   Jay Carney, Dave Clark, Andrew Herdener, and David Zapolsky between March 29, 2021 and
    March 30, 2021, comprising 3 screenshots, titled “Clark/Drew/Carney/DZ – Privilege,” and
    relating to security issues.
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy, Stephen Schmidt, and Peter DeSantis in April 2021, comprising two screenshots
    and titled “IAD50.”
    o DM settings before collection were as follows: 1 day in April 2021 (Schmidt).

•   Andy Jassy and Michael Punke on April 5, 2021, comprising one screenshot, relating to
    logistics.
    o DM settings before collection were as follows: 1 day on April 5, 2021 (Jassy).

•   Andy Jassy, Jay Carney, and Michael Punke on April 5, 2021, comprising three screenshots
    and titled “Andy, Michael, Jay.”
    o DM settings before collection were as follows: 1 week in April 2021 (Jassy).

•   Andy Jassy, Ian Wilson, and Peter DeSantis on April 6, 2021, comprising two screenshots
    and titled “apps transition.”
    o DM settings before collection were as follows: 1 week on April 6, 2021 (Jassy).

•   Jeff Bezos, Jay Carney, Dave Clark, Andrew Herdener, Brian Huseman, Andy Jassy, Christina
    Lee, Brian Olsavsky, Michael Punke, and David Zapolsky between April 6, 2021 and Jan. 6,
    2022, comprising 30 screenshots, titled “Infrastructure Talk,” and relating to a public
    relations issue.
    o DM settings before collection were as follows: DM was never enabled.
•   Jeff Bezos and                between April 8, 2021 and April 2, 2022, comprising 34
    screenshots and relating to personal issues, scheduling,                       , B20
    summit, and                           .
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy and                on April 10, 2021, comprising three screenshots, relating to
    logistics.
    o DM settings before collection were as follows: DM was never enabled.
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•   Jeff Bezos, Andrew Herdener, Jay Carney, David Limp, Aaron McGrath, and Kinley Pearsall
    between April 16, 2021 and Sept. 19, 2021, comprising 43 screenshots, titled
    “Jeff/DaveL/Aaron/Jay/Drew/Kinley,” and relating to Project Kuiper.
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy and Babak Parviz on April 20, 2021, comprising one screenshot.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Andy Jassy, and Mike Hopkins between April 23, 2021 and Jan. 6,
    2022, comprising five screenshots, titled “Jeff & Andy,” and relating to a sports
    content announcement.
    o Amazon-FTC-CID_ 09327780 to Amazon-FTC-CID_09327781
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy, Stephen Schmidt, and Bob Kimball on May 7, 2021, comprising two screenshots
    and titled “N.”
    o DM settings before collection were as follows: 1 week on unknown date (Schmidt).

•   Jeff Bezos, Jay Carney, Dave Clark, Beth Galetti, Drew Herdener, and Andy Jassy between
    May 7, 2021 and May 21, 2022, comprising 3 screenshots and titled “Jeff/Jay/Beth/Andy/
    Drew/Dave.”
    o DM settings before collection were as follows: 1 week on May 7, 2021 (Unknown); disabled
        on May 21, 2022 (Bezos).

•   Andy Jassy and Adam Selipsky between March 15, 2021 and Mar. 7, 2022, comprising 110
    screenshots and relating to AWS’s annual conference, meetings, federal contract, returning to
    the office,                   , world events, donations, personnel issues, and AWS business.25
    o DM settings before collection were as follows: 1 week on March 15, 2021 (Jassy); 1 week in
        June 2021 (Jassy); 1 day on Dec. 8, 2021 (Jassy); 1 week on Dec. 22, 2021 (Jassy); 1 week
        on Jan. 6, 2022 (Jassy); disabled on Feb. 10, 2022 (Jassy).

•   Mike Hopkins and Jim Sterner between May 16, 2021 and Aug. 24, 2021,
    comprising six screenshots and relating to personnel issues and the MGM
    transaction.
    o Amazon-FTC-CID_ 09328349 to Amazon-FTC-CID_09328351
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy, Peter Krawiec, and Mike Hopkins between May 16, 2021 and May 28,
    2021, comprising 13 screenshots, titled “Andy and Peter K,” and relating to the
    MGM transaction and a transaction not involving Amazon.
    o Amazon-FTC-CID_09328358 to Amazon-FTC-CID_09328369
    o DM settings before collection were as follows: DM was never enabled.




25 This thread was previously logged.     Three additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
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•   Jeff Blackburn and Mike Hopkins between May 16, 2021 and Jan. 3, 2022,
    comprising 56 screenshots and relating to personnel / organizational issues,
    meeting scheduling, the MGM transaction, the NFL, and other programming.
    o Amazon-FTC-CID_09328004            to   Amazon-FTC-CID_09328040;     Amazon-FTC-
       CID_09328463 to Amazon-FTC-CID_09328484; Amazon-FTC-CID_09328502 to
       Amazon-FTC-CID_09328506
    o DM settings before collection were as follows: 1 week on May 24, 2021 (Blackburn);
       disabled on July 13, 2021 (Blackburn).

•   Mike Hopkins and Emily Wallis from May 16, 2021 to July 18, 2021, comprising
    four screenshots and relating to team meetings and the MGM transaction.
    o Amazon-FTC-CID_09327844 to Amazon-FTC-CID_09327845
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy, Matt Garman, Ian Wilson on May 17, 2021 to May 18, 2021, comprising six
    screenshots, titled “Andy_Matt_Ian,” and relating to hiring.
    o DM settings before collection were as follows: DM was never enabled.

•   Mike Hopkins, Jennifer Salke, and Albert Cheng between May 19, 2021 and Nov. 22, 2021,
    comprising two screenshots and relating to safety issues.
    o DM settings before collection were as follows: DM was never enabled.

•   Carlo Bertucci, Peter Krawiec, and Mike Hopkins between May 20, 2021 and
    June 1, 2021, comprising 74 screenshots and relating to meeting and call
    scheduling, the MGM transaction, and other corporate development updates.
    o Amazon-FTC-CID_09328374 to Amazon-FTC-CID_09328443
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Blackburn, Mike Hopkins, and Jennifer Salke between May 24, 2021 and
    Aug. 19, 2021, comprising eight screenshots, titled “Jblack and Mike,” and
    relating to meeting scheduling, the MGM transaction, and personnel issues.
    o Amazon-FTC-CID_09327995            to   Amazon-FTC-CID_09327998;     Amazon-FTC-
       CID_09328445 to Amazon-FTC-CID_09328448
    o DM settings before collection were as follows: 1 week on May 24, 2021 (Blackburn);
       disables on July 13, 2021 (Blackburn).

•   Andy Jassy and Jeff Blackburn between May 24, 2021 and Mar. 7, 2022, comprising 70
    screenshots relating to call and meeting scheduling, personnel and organizational issues,
    Twitch, the NFL, and global events.26
    o DM settings before collection were as follows: 30 minutes in May 24, 2021 (Blackburn); 1
        week on May 24, 2021 (Jassy); disables on Aug. 19, 2021 (Blackburn); 1 week on Oct. 14,
        2021 (Jassy); 1 week on Nov. 16, 2021 (Jassy); 1 day on Dec. 21, 2021 (Jassy); disabled on
        Jan. 8, 2021 (Jassy).




26 This thread was previously logged.    One additional screenshot was collected from Mr. Jassy
in the collection reflected in this update.
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•   Peter Krawiec and Drew Herdener on May 25, 2021, comprising two screenshots and relating
    to getting the attention of senior executives.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Blackburn and Jennifer Salke between May 25, 2021 and Dec. 14, 2021,
    comprising 25 screenshots and relating to personnel, meeting scheduling,
    productions, and marketing and budget issues.
    o Amazon-FTC-CID_09328449 to Amazon-FTC-CID_09328458
    o DM settings before collection were as follows: DM was never enabled.

•   Mike Hopkins and Cory Shields between May 26, 2021 and July 22, 2021,
    comprising six screenshots and relating to the MGM transaction and Prime
    Video premieres.
    o Amazon-FTC-CID_09327840 to Amazon-FTC-CID_09327843
    o DM settings before collection were as follows: DM was never enabled.

•   Dave Limp and Beth Galetti between May 27, 2021 and Aug. 5, 2021, comprising seven
    screenshots and relating to personnel issues.
    o DM settings before collection were as follows: 1 week on Aug. 5, 2021 (Galetti).

•   Jeff Bezos, Jennifer Salke, Jeff Blackburn, and Mike Hopkins between May 27, 2021 and Dec.
    13, 2021, comprising three screenshots, titled “Jen, jblack, jb,” and including a link to Amazon
    video content and personal responses thereto.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Wilke and Mike George between May 27, 2021 and Sept. 9, 2021, comprising one
    screenshot.
    o DM settings before collection were as follows: 1 week on Aug. 8, 2021 (George).

•   Mike Hopkins, Jay Marine, and Jennifer Salke on June 1, 2021, comprising three screenshots
    and relating to a release in India.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Blackburn, Mike Hopkins, and Jennifer Salke between June 8, 2021 and Dec.
    20, 2021, comprising 11 screenshots, titled “MH-JS,” and relating to meeting
    scheduling, programing, and the MGM transaction.
    o Amazon-FTC-CID_09328352           to      Amazon-FTC-CID_09328357;          Amazon-FTC-
       CID_09328459 to Amazon-FTC-CID_0932846211
    o DM settings before collection were as follows: 5 min on June 8, 2021 (Blackburn); disabled
       on July 13, 2021 (Blackburn).

•   Andy Jassy, Drew Herdener, Neal Karlinsky, Dan Perlet, Lauren Sanborn, Sarah Duffer,
    and Orion Gousie between June 16, 2021 and March 28, 2022, comprising 11 screenshots,
    titled “Andy Social” and relating to social media.27


27 This thread appears on the Blackberries that prompted this log update and also includes

additional settings on Mr. Jassy’s subsequent Signal devices.
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    o     DM settings before collection were as follows: 1 week on June 16, 2021 (Jassy).

•   Mike Hopkins and Chris Brearton between June 16, 2021 and Aug. 5, 2021,
    comprising seven screenshots and relating to the MGM transaction.
    o Amazon-FTC-CID_09327839
    o DM settings before collection were as follows: 1 week on July 19, 2021 (Brearton).

•   Jeff Bezos and Neil Lindsay between June 27, 2021 and Jan. 7, 2022, comprising one
    screenshot.
    o DM settings before collection were as follows: set DM to 1 week on June 27, 2021 (Bezos);
        set DM to 4 weeks on June 27, 2021 (Lindsay).

•   Jeff Bezos and             on July 15, 2021, comprising one screenshot and relating to
    scheduling a Project Kuiper meeting.
    o DM settings before collection were as follows: DM was never enabled.

•   Mike Hopkins and Dawn Chimielewski between Aug. 10, 2021 and Nov. 4, 2021, comprising
    one screenshot and relating to a news article.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Blackburn and Beth Galetti between Aug. 18, 2021 and Sept. 1, 2021, comprising two
    screenshots and relating to the remote work environment.
    o DM settings before collection were as follows: 1 week on Sept. 1, 2021 (Galetti).

•   Jeff Blackburn and Cem Sibay on Aug. 19, 2021, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on Aug. 19, 2021 (Sibay).

•   Andy Jassy, Peter DeSantis, Bob Kimball, and an unidentified fourth individual between Aug.
    28, 2021 and Sept. 10, 2021, comprising six screenshots, titled “AWS and Andy,” and relating
    to                     .
    o DM settings before collection were as follows: DM was never enabled.

•   Lindo St. Angel and Chris Lander starting on Aug. 27, 2021, comprising 385 screenshots
    through May 2022, and relating to various personal and work matters.
    o DM settings before collection were as follows: DM was never enabled.
•   Jeff Bezos and Colin Needham between Sept. 27, 2021 and April 27, 2022,
    comprising eight screenshots and relating to watching movies and the MGM
    acquisition.
    o Amazon-FTC-CID_ 09327761 to Amazon-FTC-CID_09327762
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy and Keith Alexander on October 7, 2021, comprising two screenshots related to
    communication logistics.
    o DM settings before collection were as follows: 1 week on Oct. 7, 2021 (Jassy).

•   Peter Krawiec and Kyle Roche on Oct. 27, 2021, comprising one screenshot and relating to
    sharing contact information.
    o DM settings before collection were as follows: DM was never enabled.
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•   Jeff Bezos, Dan Perlet, Jay Carney, Andrew Herdener, and another individual (           )
    between Nov. 2, 2020 and Jan. 29, 2021 comprising two screenshots and titled “Jeff,
    Jay, Drew, Dan.”
    o DM settings before collection were as follows: 1 week on Nov. 2, 2020 (Bezos); disabled
        on Nov. 2, 2020 (Perlet); 1 week on Nov. 2, 2020 (Bezos).

•   Dave Limp and Andrew Herdener between Nov. 12, 2021 and Jan. 28, 2022, comprising five
    screenshots and relating to public relations and personnel issues.
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy and Dave Treadwell on November 18, 2021, comprising one screenshot.
    o DM settings before collection were as follows: 1 day on Nov. 18, 2021 (Jassy).

•   Dave Limp and Doug Booms between Nov. 22, 2021 and Mar. 1, 2022, comprising three
    screenshots, and relating to a device company.
    o DM settings before collection were as follows: 8 hours on Nov. 23, 2021 (Booms); disabled
        on Mar. 1, 2022 (Limp).

•   Jeff Blackburn and Drew Herdener on Dec. 9, 2021, comprising two screenshots and relating
    to internal communications regarding DE&I.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Andrew Herdener, and Dan Perlet on Dec. 11, 2021, comprising two screenshots.
    o DM settings before collection were as follows: Unknown set DM to 1 week on Dec. 11, 2021.

•   Andy Jassy, Andrew Herdener, Brian Huseman, Ty Rogers, and Jay Carney on Dec. 12, 2021,
    comprising six screenshots, titled “Drew/Andy/Jay/Brian/Ty,” and relating to outreach to
    state governors following a storm.
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy, Andrew Herdener, Bob Kimball, and David Zapolsky on Dec, 15, 2021, comprising
    four screenshots, titled “Bob/David/Andy,” and relating to a public relations issue in China.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Blackburn and Peter Krawiec on Dec. 23, 2021, comprising three screenshots and relating
    to an update for an unnamed negotiation.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Jeff Blackburn, and Mike Hopkins between Dec. 23, 2021 and Jan. 24,
    2022, comprising three screenshots, titled “Jeff and Jeff,” and relating to a Super
    Bowl advertisement.
    o Amazon-FTC-CID_09328500 to Amazon-FTC-CID_09328501
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Jennifer Salke between Dec. 24, 2021 and March 10, 2022, comprising seven
    screenshots and relating to personal issues and updates on Amazon Prime series.
    o DM settings before collection were as follows: DM was never enabled.
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•   Dave Clark, Kelly Cheeseman, and                       on Dec. 24, 2021, comprising five
    screenshot, titled “Dave/        and relating to a holiday message.
    o DM settings before collection were as follows: DM was never enabled.

•   Dave Clark,                  , and Kelly Cheeseman, on Dec. 24, 2021, comprising four
    screenshots, titled “Dave/      ” and relating to administrative issues.
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy, Stephen Schmidt, Sara Duffer, Kim Herb, and Bob Kimball on Jan. 5, 2022, titled
    “Quick update” and comprising four screenshots.28
    o DM settings before collection were as follows: 1 day on unknown date (unknown).

•   Andy Jassy, Dan Perlet, and Andrew Herdener on Jan. 5, 2022, titled “Andy/Drew/Dan” and
    comprising four screenshots. 29
    o DM settings before collection were as follows: 4 weeks on unknown date (unknown).

•   Dave Limp and Heather Smedstad on Jan. 12, 2022, comprising one screenshot.
    o DM settings before collection were as follows: 1 day on Jan. 12, 2022 (Smedstad).

•   Andy Jassy and Mike Hopkins between Jan. 23, 2022 and Feb. 24, 2022, comprising six
    screenshots, relating to the Oscars.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Dan Perlet starting on Feb. 3, 2022, and comprising three screenshots through
    May 2022, relating to communications and personal issues.
    o DM settings before collection were as follows: 1 week on Mar. 31, 2022 (Bezos); disabled
        on May 21, 2022 (Bezos).

•   Andy Jassy, Beth Galetti, and Andrew Herdener on Feb. 6, 2022, comprising 38 screenshots,
    titled “Beth/Andy/Drew,” and relating to compensation.
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy and                    between Feb. 22, 2022 and Feb. 25, 2022, comprising 11
    screenshots and relating to logistics about a slide deck.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Kara Hurst between March 2, 2022 and March 3, 2022, comprising three
    screenshots and relating to environmental issues.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Mike Frazzini on March 22, 2022, comprising seven screenshots and relating
    to Frazzini’s pending departure and experience at Amazon.

28 This thread was previously logged.     Two additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
29 This thread was previously logged.     Two additional screenshots were collected from Mr.
Jassy in the collection reflected in this update.
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    o   DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos and Neal Karlinsky between May 11, 2022 and May 13, 2022, comprising 10
    screenshots and relating to staffing, social media and public relations issues, and outreach
    from Shopify.
    o DM settings before collection were as follows: DM feature enabled, but specifics are
        unknown.

•   Jeff Bezos, Dave Clark, Doug Herrington, and Jeff Wilke on May 21, 2022, comprising 2
    screenshots and titled “JAW, Doug, Dave, Jeff.”
    o DM settings before collection were as follows: 1 week on May 21, 2022 (Unknown);
        disabled on May 21, 2022 (Bezos).

•   Andy Jassy, Drew Herdener, and Ty Rogers on an unknown date, comprising 10 screenshots
    related to a press release and titled “Andy/Ty/Drew.”
    o DM settings before collection were as follows: DM was never enabled.

•   Andy Jassy and                   on an unknown date, comprising two screenshots related
    to scheduling.
    o DM settings before collection were as follows: DM was never enabled.

•   Dave Clark and Gail Carpenter on an unknown date, comprising one screenshot.
    o No message content.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos,                                         , on an unknown date, comprising one
    screenshot.
    o DM settings before collection were as follows: DM was never enabled.

•   Jeff Bezos, Jay Carney, Andrew Herdener, Dan Perlet, and                on an unknown date,
    comprising two screenshots and titled “Jeff, Jay, Drew, Dan,
    o DM settings before collection were as follows: 1 week, but specifics are unknown.

•   Jeff Wilke and Jay Carney on an unknown date, comprising one screenshot.
    o DM settings before collection were as follows: 1 week on unknown date (Wilke).
